                  Case 18-10467-KG      Doc 41     Filed 03/06/18   Page 1 of 1



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

HCR MANORCARE, INC.,                                Case No. 18-10467 (KG)

                         Debtor.


                     ORDER SCHEDULING OMNIBUS HEARING DATES

                 Pursuant to Rule 2002-1(a) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware, the Court hereby

schedules the following omnibus hearing dates:

                 •   April 6, 2018 at 10:00 a.m. (ET)

                 •   April 13, 2018 at 2:00 p.m. (ET)




         Dated: March 6th, 2018                 KEVIN GROSS
         Wilmington, Delaware                   UNITED STATES BANKRUPTCY JUDGE
